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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
MAX FELIX,                                 )
                                           )
                  Plaintiff                )
                                           )
            v.                             ) Case No. 23-cv-12238-DJC
                                           )
MICHAEL W. MORRISSEY, et al.,              )
                                           )
                  Defendants.              )
__________________________________________)

                                 MEMORANDUM AND ORDER

CASPER, J.                                                                      January 8, 2025

I.     Introduction

       Plaintiff Max Felix, proceeding pro se, filed this lawsuit against Defendants John

Bringardner, David Murphy, Brian Howard, Anthony Marag, Jason Fischer (collectively, the

“Randolph Defendants”) and the Town of Randolph (the “Town”), alleging violations of his

constitutional rights for wrongful arrests and prosecutions. D. 1. The Randolph Defendants and

the Town have moved for judgment on the pleadings. D. 36. Felix has moved for a cease and

desist order, D. 45, and has moved for oral argument on the Randolph Defendants’ motion, D. 46.

Having considered the parties’ filings, and for the reasons stated below, the Court ALLOWS the

Randolph Defendants’ and the Town’s motion for judgment on the pleadings, D. 36, and DENIES

Felix’s motions, D. 45, D. 46.

II.    Standard of Review

       Rule 12(c) allows a party to move for judgment on the pleadings at any time “[a]fter the

pleadings are closed—but early enough not to delay trial.” Fed. R. Civ. P. 12(c). A motion for

judgment on the pleadings pursuant to Fed. R. Civ. P. 12(c) is “ordinarily accorded much the same



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treatment” as a Rule 12(b)(6) motion. Aponte-Torres v. Univ. of P.R., 445 F.3d 50, 54 (1st Cir.

2006). To survive a motion for judgment on the pleadings, therefore, a plaintiff must plead

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007). Because a motion for judgment on the pleadings “calls for an

assessment of the merits of the case at an embryonic stage,” the Court “view[s] the facts contained

in the pleadings in the light most favorable to the nonmovant and draw[s] all reasonable inferences

therefrom” in his favor. Pérez-Acevedo v. Rivero-Cubano, 520 F.3d 26, 29 (1st Cir. 2008)

(internal quotation marks and citation omitted).

       On a Rule 12(c) motion, unlike a Rule 12(b) motion, the Court considers the pleadings as

a whole, including the answer. See Aponte-Torres, 445 F.3d at 54–55. Those assertions in the

answer that have not been denied and do not conflict with the assertions in the complaint are taken

as true. See Santiago v. Bloise, 741 F. Supp. 2d 357, 360 (D. Mass. 2010). In addition, “[t]he

court may supplement the facts contained in the pleadings by considering documents fairly

incorporated therein and facts susceptible to judicial notice.” R.G. Fin. Corp. v. Vergara-Nuñez,

446 F.3d 178, 182 (1st Cir. 2006). Still, “[l]ike Rule 12(b)(6), Rule 12(c) does not allow for any

resolution of contested facts; rather, a court may enter judgment on the pleadings only if the

uncontested and properly considered facts conclusively establish the movant’s entitlement to a

favorable judgment.” Aponte-Torres, 445 F.3d at 54.

III.   Factual Background

       Unless otherwise indicated, the following summary is based on allegations in Felix’s

complaint, D. 1. These allegations are accepted as true for the purposes of resolving the motion

for judgment on the pleadings.

       The Norfolk County District Attorney's office prosecuted Felix in 2011 and 2012 relating

to arrests in 2009 and 2010 for criminal charges that were cited by Randolph police officer, Kevin


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Donnelly (“Donnelly”). D. 1 ¶¶ 1-6; see D. 37 at 1-2. Detective Bringardner allegedly “verified

Felix’s whereabouts during a crime he was unjustly suspected of committing,” but “failed to

document or file a report on [his] finding.” D. 1 ¶ 18. Felix was found not guilty following both

the criminal trials. See id. ¶ 13; D. 37 at 2. Felix subsequently brought a civil complaint in 2012

against Donnelly and the Town of Randolph and members of the Randolph Police Department

alleging numerous violations, including violations of section 1983 and emotional distress relating

to his previous criminal charges.1 D. 1 ¶¶ 13-14, 16; see D. 37 at 2-3. In 2017, a jury found

Donnelly had violated Felix's rights and awarded Felix damages in the amount of $95,001. D. 1

¶¶ 13, 16; D. 37 at 3. In November 2017, the Randolph Town Manager “vilified” Felix in a front-

page news article that “[left] him no path to clearing his name again.” See id. ¶ 16 (alleging that

Murphy slandered the plaintiff to “justify” Donnelly’s conduct).

       Felix claims that his redress for Donnelly’s actions were denied in 2009 and have been

again denied as of June 2023 when he attempted to speak with Randolph Town Manager, Brian

Howard, who allegedly “lied about changes that were made since the civil rights violations

conducted by the Town of Randolph in 2017.” Id. ¶¶ 17, 20. At some point, Felix also tried to

speak with Detective Sergeant Jason Fischer and left him several voicemails and received no

response. Id. ¶ 12. Felix also allegedly spoke with Randolph police officers who stated that

Donnelly’s conduct was “just” and there was probable cause for the prior criminal charges. Id. ¶

14. Felix alleges that as a result of the Randolph Defendants’ and the Town’s actions that he has

suffered “emotional distress and other damages for his loss of reputation, shame, mortification,




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        The Court takes judicial notice of Felix v. Town of Randolph, No. 12-cv-10997-GAO,
2013 WL 3830840, at *4 (D. Mass. July 22, 2013) in which Felix brought similar claims against
the Town arising out of the 2009 and 2010 incidents based upon Donnelly’s conduct including
malicious prosecution claims.

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hurt feelings, loss of consortium and emotional anguish” and seeks compensatory and punitive

damages. Id. ¶¶ 24, 25.

IV.    Procedural History

       On September 29, 2023, Felix instituted this action against Defendants. D. 1. On January

16, 2024, Defendants Michael W. Morrissey, the District Attorney of Norfolk County, Assistant

District Attorney Michael McGee, and Assistant District Attorney Danielle Piccarini (collectively,

the “DA Defendants”) moved to dismiss. D. 20. On June 5, 2024, the Court heard the parties on

the DA Defendants’ motion to dismiss, D. 29. On August 22, 2024, this Court granted the DA

Defendants’ motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), concluding that Felix’s claims

were untimely, and the complaint otherwise failed to state a claim, and the DA Defendants were

entitled to sovereign immunity. D. 30.

       On October 16, 2024, the Randolph Defendants and the Town moved for judgment on the

pleadings. D. 36. On November 12, 2024, Felix moved for sanctions and an order requesting the

Town “immediately cease and desist from making defamatory and disparaging statements

regarding Plaintiff’s character, conduct and reputation” and to stop defending Officer Donnelly,

D. 39, and for a motion to take the deposition of John Bringardner. D. 40. On November 20,

2024, this Court denied the motion for sanctions, holding that Felix had not identified any

sanctionable conduct, D. 43. This Court further ordered a stay of discovery until the resolution of

the motion for judgment on the pleadings and, accordingly, denied the motion to compel the

deposition of John Bringardner. D. 44. That same day, Felix filed a motion for preliminary

injunction and new order for the Town to cease and desist from making defamatory statements,2



       2
         Felix’s motion styled as a preliminary injunction and seeking an order for the Town to
cease and desist from making defamatory statements, D. 45, appears to be substantively the same
motion Felix previously filed styled as a motion for seeking sanctions, D. 39, that this Court has

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D. 45, and a motion for oral argument on the pending motion for judgment on the pleadings. D.

46.

V.     Discussion

       As an initial matter, Felix has not clearly delineated his causes of action against the

Randolph Defendants and the Town. It appears from the complaint that he is asserting a violation

of 42 U.S.C. § 1983 against the Randolph Defendants for malicious prosecution relating to the

2011 and 2012 prosecutions because he alleges that they “acted without probable cause, refrained

from looking at other possible suspects,” failed to provide redress for Donnelly’s conduct and

conspired to violate his constitutional rights3 as well as a Monell claim under 42 U.S.C. § 1983

against the Town predicated on the same misconduct. See D. 1 ¶¶ 1, 4-10, 13-14, 16-18, 20; see

D. 38 at 2-6. The Randolph Defendants and the Town argue that Felix’s claims against them are

barred because they are untimely, any recent allegations fail to state a claim for relief, and Felix

cannot establish a § 1983 Monell claim against the Town. See D. 37 at 5-7.

       A.      Felix’s Claims are Untimely

       The Court agrees that Felix’s claims are untimely. Section 1983 imposes liability on

“[e]very person who, under color of any statute” subjects any citizen of the United States to be

deprived “of any rights, privileges, or immunities secured by the Constitution and laws.” 42 U.S.C.

§ 1983. For assessing the timeliness of § 1983 claims, “federal courts borrow the most closely

analogous state statute of limitations, which in Massachusetts is three years.” DuBois v. Alves,

No. 22-cv-11203-RGS, 2023 WL 3061401, at *5 (D. Mass. Apr. 24, 2023); see Mass. Gen. L. c.


already considered and denied. D. 43. The Court, therefore, denies this motion, D. 45, for the
same reasons already stated in D. 43.
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         In his opposition, Felix appears to suggest that he is bringing the conspiracy claim
pursuant to 42 U.S.C. § 1985 against the Randolph police officer defendants, Bringardner, Marag
and Fischer. See D. 38 at 5.

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260 § 2A (providing that “[e]xcept as otherwise provided, actions of tort. . . shall be commenced

only within three years next after the cause of action accrues”). A claim for malicious prosecution

“does not accrue until the termination of the criminal proceeding,” Nieves v. McSweeney, 241

F.3d 46, 53 (1st Cir. 2001) (citing Heck v. Humphrey, 512 U.S. 477, 484 (1994)). Here, even

under the most charitable reading of the complaint, the latest that the claims accrued are the

termination of the 2011 and 2012 trials. D. 1 ¶¶ 1, 3-6 ; see D. 38 at 4 (confirming that the “criminal

trials were held in November 2011 and May 2012”). As Felix filed his complaint on September

29, 2023, D. 1, the § 1983 claims for malicious prosecution are barred by the statute of limitations.4

       Moreover, although Felix does not identify whether he is bringing claims against the

Randolph Defendants in their official or individual capacities, as pled, the claims against the

individual defendants are untimely. See D. 1; D. 37 at 3 n.1. To determine whether a suit is being

brought against a defendant in his personal or official capacity, courts look to “the complaint or,

if not clearly specified in the complaint, by the ‘course of proceedings.’”            Asociacion de



       4
          To the extent Felix is asserting a conspiracy claim pursuant to 42 U.S.C. § 1985 that claim
is also untimely. See D. 38 at 5. “A cause of action under section 1985 exists when there are two
or more persons who conspire for the purpose of depriving, directly or indirectly, any person or
class of persons of the equal protection of the laws or of equal privileges and immunities under the
law.” Frei v. Town of Holland, No. 18-cv-30187-MGM, 2020 WL 10965661, at *10 (D. Mass.
July 23, 2020), aff'd, No. 21-1692, 2022 WL 19000099 (1st Cir. Sept. 21, 2022) (noting that injury
from a conspiracy flows from “overt acts” and not from the mere continuation of the conspiracy)
(internal citation omitted). Like a claim under § 1983, a § 1985 claim borrows from the state’s
three-year statute of limitations under Mass. Gen. L. c. 260 § 2A. See id. Here, the same timeliness
analysis applies as the alleged overt acts underlying Felix’s claims for conspiracy relate to the §
1983 claims concerning the criminal proceedings that ended in 2011 and 2012, see D. 1 ¶ 6
(alleging “defendants engaged in dishonest means to secure a conviction . . . in furtherance of a
conspiracy to violate [Felix’s constitutional rights]”). Accordingly, any claim under § 1985 is
similarly time-barred. See Nieves v. McSweeney, 73 F. Supp. 2d 98, 102 n.4 (concluding that the
court’s analysis of the statute of limitations under plaintiffs' Section 1983 claims applies equally
to plaintiffs’ Section 1985 claims because the alleged deprivation of rights are the same and
therefore “plaintiffs’ claims under Section 1985 fail for the same reasons as does their claims under
Section 1983—they have not alleged an injury or deprivation actionable under Section 1985 that
is not barred by the statute of limitations”); see also Felix, 2013 WL 3830840, at *4.


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Subscipcion Conjunta del Seguro de Responsibilidad Obligatorio v. Flores Galarza, 484 F.3d 1,

26 (1st Cir. 2007) (internal citation omitted). Here, as per the complaint, the allegations point to

official government actions Randolph police officers, Bringardner, Fischer and Marag, took while

investigating the criminal complaints that lead to the criminal proceedings in 2011 and 2012, and

statements by Town officials, Howard and Murphy, concerning these proceedings. See D. 1 ¶¶ 1,

4-6, 10-13, 16-18, 20. As discussed above, those actions would all be barred by the statute of

limitations. To the extent Felix’s allegations apply to the Randolph Defendants in their individual

capacities, those actions are similarly time-barred. For example, the allegations that the Town

Manager “vilified” Felix in 2017, id. ¶ 13, are also untimely. Accordingly, for all these reasons,

judgment on the pleadings is appropriate.

       B.      Felix’s Allegations Relating to Recent Conduct Fails to State a Claim

       To the extent Felix alleges more recent conduct in 2023, those allegations are conclusory

and do not save his complaint. The complaint alleges that the “unconstitutional denial of redress

has occurred as recent as June 2023,” and “in 2023 his ability to redress concerning matters were

actively blocked by sergeants of [the] Randolph police department again in a dismissive manner.”

See D. 1 ¶¶ 11, 17. A plaintiff seeking to bring a malicious prosecution claim under § 1983 “must

show a deprivation of a federally-protected right.” Nieves, 241 F.3d at 53 (noting that such

showing must be made “to transform [a common-law cause of action for] malicious prosecution

into a claim cognizable under section 1983”). Here, Felix's allegations are conclusory and do not

distinguish which Randolph Defendants are implicated and his references to “redress” does not

identify the constitutional deprivation or wrongdoing to plead a plausible § 1983 claim. See id.,

241 F.3d at 57 (holding that “in the absence of an anchoring constitutional violation, the appellants’

section 1983 malicious prosecution claim topples”). For example, although Felix alleges that he

had a phone conversation with Detective Fischer and did not receive a response, Felix does not


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allege any time period for when this conversation took place. See D. 1 ¶ 12. Although Felix does

identify a conversation he had with Town manager, Howard, in June 2023 in which he attempted

to address his concerns related to “civil rights violations conducted by the Town of Randolph in

2017,” id. ¶ 20, and alleges that Howard “lied” about changes made since those civil rights

violations in 2017, id., again, Felix fails to assert any specific basis for a violation of a

constitutional right.

        C.      Felix Has Not Plausibly Alleged a Monell Violation Against the Town

        Even assuming arguendo that Felix’s claims were timely, to the extent Felix is seeking

municipality liability against the Town, Felix’s allegations, as pled, are also insufficient to

establish a Monell violation against the Town. Although “[a] municipality cannot be held liable

under § 1983 on a respondeat superior theory,” § 1983 does impose “liability on a government

that, under color of some official policy, causes an employee to violate another’s constitutional

rights.” Monell v. Dep’t of Soc. Servs. of the City of N.Y., 436 U.S. 658, 691–92 (1978) (internal

quotation marks and citation omitted). Felix must show that a municipal “policy” or “custom” is

the “moving force [behind] the constitutional violation.” City of Canton v. Harris, 489 U.S. 378,

389 (1989) (quoting Monell, 436 U.S. at 694). Felix must, therefore, allege “both the existence of

a policy . . . and a causal link between that policy and the constitutional harm.” Wood v. City of

Haverhill, No. 23-cv-12377-JEK, 2024 WL 4189932, at *11 (D. Mass. Sept. 13, 2024) (quoting

Santiago v. Fenton, 891 F.2d 373, 381 (1st Cir. 1989)). A municipality’s failure to train or

supervise its officers may amount to a “policy or custom” for purposes of § 1983 liability only

where the inadequate training shows “deliberate indifference to the rights of persons with whom

the police come into contact.” Canton, 489 U.S. at 388-89. “[D]eliberate indifference is a stringent

standard of fault,” such that “[a] showing of simple or even heightened negligence will not

suffice.” Bd. of Cnty. Comm’rs of Bryan Cnty. v. Brown, 520 U.S. 397, 407, 410 (1997) (internal


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quotation marks and citation omitted). A city may be deemed deliberately indifferent when it is

“on actual or constructive notice that a particular omission in [its] training program causes

[officers] to violate citizens’ constitutional rights” and fails to properly respond, either by

providing appropriate training or through disciplinary action. Connick v. Thompson, 563 U.S. 51,

61 (2011). “A pattern of similar constitutional violations by untrained [officers] is ordinarily

necessary to demonstrate deliberate indifference for purposes of failure to train.” Id. at 62 (internal

quotation marks and citation omitted). Further, to place the municipality on actual or constructive

notice of the lack of training or the inadequacy of the training, the pattern of prior constitutional

violations must be similar to those at issue in this case. See id. at 62.

       Here, Felix has failed to allege the existence of an official unconstitutional custom or policy

by the Town to wrongfully prosecute citizens and failure to properly investigate. See generally D.

1. Although Felix cites his two incidents in 2009 and 2010 both involving the same officer,

Donnelly, D. 1 ¶¶ 1, 4, 13; D. 38 at 3, “[t]hat a particular officer may be unsatisfactorily trained

will not alone suffice to fasten liability on the city, for the officer's shortcomings may have resulted

from factors other than a faulty training program.” Canton, 489 U.S. at 390–91; see Wilson v.

Town of Fairhaven, No. 18-cv-11099-PBS, 2019 WL 1757780, at *14 (D. Mass. Mar. 4, 2019)

(dismissing Monell claim because “simply showing that an individual police officer received

inadequate training is not sufficient to attach liability against the municipality”), report and

recommendation adopted, No. 18-cv-11099, 2019 WL 1760591 (D. Mass. Mar. 19, 2019). That

is, there are no allegations that there has been a pattern of enforcement of an unconstitutional

policy, pattern or practice as required to show deliberate indifference on behalf of the Town and

impose liability under Monell. See Bixby v. Town of Rehoboth, No. 23-cv-10334-MPK, 2024

WL 4979147, at *9 (D. Mass. Dec. 4, 2024) (concluding that plaintiff had failed to allege a Monell




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claim against the Town because evidence of a single incident of a constitutional deprivation is

insufficient to establish a municipal custom); Lucien-Calixte v. David, 405 F. Supp. 3d 171, 179

(D. Mass. 2019) (dismissing § 1983 claim against the Town because plaintiff’s allegations failed

to sufficiently to allege that police officer acted pursuant to a municipal policy or custom).

Moreover, Felix’s conclusory allegations that the Town Manager’s statements “vilified” him in

2017 and Town Manager, Murphy, “slandered” the plaintiff by justifying Donnelly’s conduct also

do not allege a plausible policy or custom of the Town. See Winfield v. Town of Andover, 305 F.

Supp. 3d 286, 297 (D. Mass. 2018) (dismissing Monell claim because plaintiffs failed to identify

a municipal policy or custom and failed to show the causal link between the policy or custom and

their injury). For all these reasons, the Court grants Defendants’ motion for judgment on the

pleadings as to the Town on this basis as well.

VI.    Conclusion

       For all the aforementioned reasons, the Court ALLOWS Defendants’ motion for judgment

on the pleadings, D. 36. The Court DENIES Felix’s motion for a cease and desist order, D. 45,

and DENIES as moot Felix’s motion for oral argument, D. 46.

       So Ordered.

                                                           /s Denise J. Casper
                                                           United States District Judge




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